          Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 1 of 8 Page ID #:1



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 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                  CR No. 2:22-cr-00370-JFW

11                Plaintiff,                    I N F O R M A T I O N

12                v.                            [18 U.S.C. § 1343: Wire Fraud; 18
                                                U.S.C. § 981(a)(1)(C), 28 U.S.C.
13   RAMIRO DA ROSA MENDES,                     § 2461(c): Criminal Forfeiture]

14                Defendant.

15
            The Acting United States Attorney charges:
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                                     [18 U.S.C. § 1343]
17
     A.     INTRODUCTORY ALLEGATIONS
18
            At times relevant to this Information:
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            Defendant and the Relevant Entities
20
            1.    Defendant RAMIRO DA ROSA MENDES was a resident of Beverly
21
     Hills, California.
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            2.    Defendant MENDES claimed to be the owner of numerous
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     businesses located in Beverly Hills, California, including:               One
24
     Wilshire Enterprises; Professional Music Services; Synchrony
25
     Enterprises; and MB Property Management Group, LLC.
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            3.    Defendant MENDES claimed to be the owner of purported real
27
     estate services businesses named Ramiro Mendes Real Estate Services,
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       Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 2 of 8 Page ID #:2



 1   Real Estate Services, and Real Estate Invesst-ments, purportedly

 2   located in Beverly Hills, California, and Brockton, Massachusetts.

 3        4.    Defendant MENDES was also the owner of Ramiro Mendes, LLC,

 4   and Quantum World, LLC, both of which were businesses registered in

 5   the State of Wyoming with registered business addresses in Cheyenne,

 6   Wyoming.

 7        5.    Defendant MENDES was also the owner of La Peer Multimedia,

 8   Inc., a California company with a registered business address in

 9   Beverly Hills, California.

10        6.    Defendant MENDES controlled a bank account held in

11   defendant MENDES’s own name maintained at JP Morgan Chase Bank ending

12   in 9823 (the “Chase 9823 Account”).

13        The Paycheck Protection Program

14        7.    The Coronavirus Aid, Relief, and Economic Security

15   (“CARES”) Act was a federal law enacted in or about March 2020 that

16   was designed to provide emergency financial assistance to Americans

17   suffering economic harm as a result of the COVID-19 pandemic.               One

18   form of assistance provided by the CARES Act was the authorization of

19   United States taxpayer funds in forgivable loans to small businesses

20   for job retention and certain other expenses, through a program

21   referred to as the Paycheck Protection Program (“PPP”).

22        8.    In order to obtain a PPP loan, a qualifying business was

23   required to submit a PPP loan application signed by an authorized

24   representative of the business.       The PPP loan application required

25   the small business (through its authorized representative) to

26   acknowledge the program rules and make certain affirmative

27   certifications in order to be eligible to obtain the PPP loan.              One

28   such certification required the applicant to affirm that “[t]he [PPP

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       Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 3 of 8 Page ID #:3



 1   loan] funds w[ould] be used to retain workers and maintain payroll or

 2   make mortgage interest payments, lease payments, and utility

 3   payments.”    The applicant (through its authorized representative) was

 4   also required to acknowledge that “I understand that if the funds are

 5   used for unauthorized purposes, the federal government may pursue

 6   criminal fraud charges.”     In the PPP loan application, the applicant

 7   was required to state, among other things, its: (a) average monthly

 8   payroll expenses; and (b) number of employees.         These figures were

 9   used to calculate the amount of money the small business was eligible

10   to receive under the PPP.     In addition, the applicant was required to

11   provide documentation showing its payroll expenses.

12        9.      A business’s PPP loan application was received and

13   processed, in the first instance, by a participating financial

14   institution.    If a PPP loan application was approved, the

15   participating financial institution would fund the PPP loan using its

16   own monies.

17        10.     PPP loan proceeds were required to be used by the business

18   on certain permissible expenses, namely, payroll costs, interest on

19   mortgages, rent, and utilities.       The PPP allowed the interest and

20   principal on the PPP loan to be entirely forgiven if the business

21   spent the loan proceeds on these expenses within a designated period

22   of time and used at least a minimum amount of the PPP loan proceeds

23   towards payroll expenses.

24        The Economic Injury Disaster Loan Program

25        11.     The Economic Injury Disaster Loan Program (“EIDL”) was a

26   United States Small Business Administration (“SBA”) program that

27   provided low-interest financing to small businesses, renters, and

28   homeowners in regions affected by declared disasters.

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       Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 4 of 8 Page ID #:4



 1        12.     The CARES Act authorized the SBA to provide EIDL loans of

 2   up to $2 million to eligible small businesses experiencing

 3   substantial financial disruption due to the COVID-19 pandemic.

 4        13.     To obtain an EIDL loan, a qualifying business was required

 5   to submit an application to the SBA and provide information about the

 6   business’s operations, such as the number of employees, gross

 7   revenues for the 12-month period preceding the disaster, and cost of

 8   goods sold in the 12-month period preceding the disaster.           In the

 9   case of EIDL loans for COVID-19 relief, the 12-month period was the

10   12-month period from January 31, 2019, to January 31, 2020.            The

11   applicant was also required to certify that all of the information in

12   the application was true and correct to the best of the applicant’s

13   knowledge.

14        14.     EIDL loan applications were submitted directly to the SBA

15   and processed by the agency with support from a government

16   contractor.    The amount of the loan, if the application was approved,

17   was determined based, in part, on the information provided by the

18   applicant about employment, revenue, and cost of goods sold.            Any

19   funds issued under an EIDL loan were issued directly by the SBA.

20        15.     EIDL loan funds could be used for payroll expenses, sick

21   leave, production costs, and business obligations, such as debts,

22   rent, and mortgage payments.      If the applicant also obtained a loan

23   under the PPP, the EIDL loan funds could not be used for the same

24   purpose as the PPP loan funds.

25                    SBA-Approved PPP Service Providers and Lenders

26        16.     Bank A was a federally insured financial institution based

27   in Florida.    Bank A participated in the SBA’s PPP as an SBA-approved

28   PPP lender.    Small businesses seeking PPP loans could apply to Bank A

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          Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 5 of 8 Page ID #:5



 1   for PPP loans.      Bank A would review the loan applications and, if the

 2   application was approved for funding, Bank A would disburse the loan

 3   funds to the applicant.

 4   B.     SCHEME TO DEFRAUD

 5          17.   Beginning in or around April 2020 and continuing through in

 6   or around August 2020, in Los Angeles County, within the Central

 7   District of California, and elsewhere, defendant MENDES, knowingly

 8   and with intent to defraud, devised, participated in, and executed a

 9   scheme to defraud the SBA and SBA-approved lenders as to material

10   matters, and to obtain money from the SBA and such lenders by means

11   of materially false and fraudulent pretenses, representations, and

12   promises.

13          18.   The fraudulent scheme operated and was carried out, in

14   substance, as follows:

15                a.    Defendant MENDES made and caused to be made, false

16   statements to the SBA, financial institutions, and other lenders in

17   connection with the fraudulent applications for PPP and EIDL loans,

18   including false representations regarding the number of employees to

19   whom the companies had paid wages, the average monthly payroll, the

20   gross receipts earned by the purported businesses, and false

21   certifications that the loans would be used for permissible business

22   purposes.

23                b.    Defendant MENDES electronically submitted, and caused

24   to be submitted, false and fictitious documents to the SBA and

25   financial institutions in support of the fraudulent PPP and EIDL loan

26   applications, including false tax documents.

27                c.    In each of the PPP and for the funded EIDL

28   applications submitted by defendant MENDES, he certified that, as the

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          Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 6 of 8 Page ID #:6



 1   authorized representative of the businesses on whose behalf the

 2   applications were submitted, he knew and understood the terms and

 3   rules of the PPP and EIDL programs, and that the funds were to be

 4   used by the recipient to only pay certain authorized business

 5   expenses.

 6                d.    Defendant MENDES knowingly misappropriated and misused

 7   the PPP and EIDL loan proceeds for his own personal benefit,

 8   including for expenses prohibited under the requirements of the PPP

 9   and EIDL programs, such as the purchase of cryptocurrency for

10   personal use and investment.

11                e.    From in or around April 2020 and continuing through in

12   or around August 2020, in furtherance of his scheme, defendant MENDES

13   submitted and caused to be submitted fraudulent PPP and EIDL loan

14   applications seeking approximately $6,708,963.33, and actually

15   received $2,228,302.65 in PPP and EIDL proceeds to which he was not

16   entitled.

17   C.     USE OF AN INTERSTATE WIRE

18          19.   On or about June 29, 2020, in Los Angeles County, within

19   the Central District of California, and elsewhere, for the purpose of

20   executing the above-described scheme to defraud, namely, the

21   misappropriation and misuse of the PPP loan proceeds fraudulently

22   obtained for One Wilshire, defendant MENDES caused others to

23   transmit, by means of wire communications in interstate commerce,

24   approximately $793,300 in PPP loan proceeds from Bank A into the

25   Chase 9823 Account.

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          Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 7 of 8 Page ID #:7



 1                                 FORFEITURE ALLEGATION

 2                [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3          1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C), and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant RAMIRO DA ROSA

 8   MENDES’s conviction of the offense set forth in the sole count of

 9   this Information.

10          2.    Defendant MENDES, if so convicted, shall forfeit to the

11   United States of America the following:

12                a.    All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offense; and

15                b.    To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18          3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c),

20   defendant MENDES, if so convicted, shall forfeit substitute property,

21   up to the value of the property described in the preceding paragraph

22   if, as the result of any act or omission of defendant MENDES, the

23   property described in the preceding paragraph or any portion thereof

24   (a) cannot be located upon the exercise of due diligence; (b) has

25   been transferred, sold to, or deposited with a third party; (c) has

26   been placed beyond the jurisdiction of the court; (d) has been

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       Case 2:22-cr-00370-PA Document 1 Filed 08/16/22 Page 8 of 8 Page ID #:8



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

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 4                                          STEPHANIE S. CHRISTENSEN
                                            Acting United States Attorney
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 7                                          SCOTT M. GARRINGER
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18                                          Justice
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